                 Case 2:18-cr-00010-TLN Document 61 Filed 07/18/18 Page 1 of 7


 1 MCGREGOR W. SCOTT
   United States Attorney
 2 OWEN ROTH
   Assistant United States Attorney
 3 501 I Street, Suite 10-100
   Sacramento, CA 95814
 4 Telephone: (916) 554-2700
   Facsimile: (916) 554-2900
 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NOS. 2:17-CR-196; 2:17-CR-219;
                                                         2:17-CR-222; 2:17-CR-234; 2:18-CR-009;
12                                Plaintiff,             2:18-CR-010; 2:18-CR-034; 2:18-CR-035;
                                                         2:18-CR-036; 2:18-CR-038; 2:18-CR-044;
13                          v.                           2:18-CR-054
14   JUSTIN JOHNSON et al.,                              STIPULATION REGARDING EXCLUDABLE
                                                         TIME PERIODS UNDER SPEEDY TRIAL ACT;
15                                Defendants.            FINDINGS AND ORDER
16                                                       DATE: July 16, 2018
                                                         COURT: Hon. Troy L. Nunley
17

18                                              STIPULATION

19          1.      This stipulation concerns the twelve indicted cases noted in the caption, which all arise

20 out of a common investigation. The twelve cases concern twenty-seven different defendants, who are

21 each identified in connection with their respective counsel in the signature pages of this stipulation.

22          2.      By previous order, each of the twelve matters was set for status conferences in July and

23 August 2018. (Case number 2:18-cr-037 was recently dismissed because the defendant, Asencion

24 Jimenez, has passed away.)

25          3.      By this stipulation, the Government and counsel for the defendants now move to continue

26 the status conferences to a series of new dates at 9:30 a.m., as follows:

27                  a)     Case number 2:17-cr-196: continue from July 19, 2018 to November 15, 2018

28                  b)     Case number 2:17-cr-219: continue from July 19, 2018 to November 15, 2018

      STIPULATION REGARDING EXCLUDABLE TIME              1
      PERIODS UNDER SPEEDY TRIAL ACT
                 Case 2:18-cr-00010-TLN Document 61 Filed 07/18/18 Page 2 of 7


 1                  c)     Case number 2:18-cr-036: continue from July 19, 2018 to November 15, 2018.

 2                  d)     Case number 2:18-cr-038: continue from July 19, 2018 to November 15, 2018.

 3                  e)     Case number 2:17-cr-222: continue from July 26, 2018, to November 29, 2018.

 4                  f)     Case number 2:18-cr-009: continue from July 26, 2018, to November 29, 2018

 5                  g)     Case number 2:18-cr-044: continue from August 2, 2018, to December 6, 2018.

 6                  h)     Case number 2:17-cr-234: continue from August 2, 2018, to December 6, 2018.

 7                  i)     Case number 2:18-cr-010: continue from August 16, 2018, to December 13, 2018.

 8                  j)     Case number 2:18-cr-034: continue from August 16, 2018, to December 13, 2018.

 9                  k)     Case number 2:18-cr-035: continue from August 16, 2018, to December 13, 2018.

10                  l)     Case number 2:18-cr-054: continue from August 16, 2018, to December 13, 2018.

11          4.      The parties to each of the foregoing cases also move to exclude time between the current

12 status conference dates and the proposed status-conference dates, as detailed in Paragraph 3, under Local

13 Codes T2 and T4.

14          5.      The parties agree and stipulate, and request that the Court find the following:

15                  a)     As of this stipulation, the Government has produced more than 400 pages of

16          written discovery to the defendants as a group, as well as 45 DVDs containing audio and visual

17          surveillance recordings. (Each defendant has also received a copy of his or her criminal history,

18          if one exists, and a small amount of additional written discovery has been produced to a subset of

19          defendants.) The Government has also prepared several thousand additional pages of discovery

20          and is producing them to the discovery coordinator presently; it has obtained a protective order

21          permitting disclosure of un-redacted copies of certain search warrants and court orders; it has

22          identified additional audio and video discs that is presently producing; and it is continuing to

23          review documents to produce.

24                  b)     At this time, the Government understands that the previously appointed

25          discovery-coordination attorney (the “DCA”) will begin processing the discovery that the

26          Government is producing (as noted in the foregoing paragraph) and making it available to

27          defense counsel. In the meantime, it is available for inspection upon request.

28                  c)     At this time, Counsel for the defendants desire additional time to review the

      STIPULATION REGARDING EXCLUDABLE TIME              2
      PERIODS UNDER SPEEDY TRIAL ACT
            Case 2:18-cr-00010-TLN Document 61 Filed 07/18/18 Page 3 of 7


 1        discovery that has been distributed and is now being distributed by the DCA. This review will

 2        enable counsel to begin reviewing the charges against their respective clients, conduct ancillary

 3        research, and consult with their respective clients on how to proceed in their cases.

 4               d)      Counsel for the defendants believe that failure to grant the above-requested

 5        continuances would deny them the reasonable time necessary for effective preparation, taking

 6        into account the exercise of due diligence.

 7               e)      The government does not object to the continuances.

 8               f)      Based on the above-stated findings, the ends of justice served by continuing the

 9        case as requested outweigh the interest of the public and the defendant in a trial within the

10        original date prescribed by the Speedy Trial Act.

11               g)      Further, given that the discovery in this case arises from a single investigation and

12        is being produced to the twenty-six defendants in the noted twelve cases, the Court has

13        previously designated the matter as “complex” for the purpose of providing an exclusion of time

14        under Local Code T2. The parties submit that the foregoing stipulation provides a continued

15        basis for such an exclusion.

16               h)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

17        et seq., within which trials must commence, the time periods between the present status

18        conferences and the proposed status conferences, noted in Paragraph 3 of this stipulation,

19        inclusive, are deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4]

20        because they result from continuances granted by the Court at the defendants’ requests on the

21        basis of the Court’s finding that the ends of justice served by taking such action outweigh the

22        best interest of the public and the defendants in speedy trials.

23               i)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

24        et seq., within which trials must commence, the time periods between the present status

25        conferences and the proposed status conferences, noted in Paragraph 3 of this stipulation,

26        inclusive, are deemed excludable pursuant to 18 U.S.C. § 3161(h)(7)(A), (ii) because they result

27        from continuances granted by the Court at defendants’ requests on the basis of the Court’s

28        finding that the matters are sufficiently complex that it would be unreasonable to expect adequate

     STIPULATION REGARDING EXCLUDABLE TIME              3
     PERIODS UNDER SPEEDY TRIAL ACT
                 Case 2:18-cr-00010-TLN Document 61 Filed 07/18/18 Page 4 of 7


 1          preparation absent the exclusions of time.

 2          6.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

 3 Speedy Trial Act dictate that additional time periods are excludable from the periods within which trials

 4 must commence.

 5          IT IS SO STIPULATED.

 6   Dated: July 16, 2018                                     MCGREGOR W. SCOTT
                                                              United States Attorney
 7

 8                                                            /s/ OWEN ROTH
                                                              OWEN ROTH
 9                                                            Assistant United States Attorney
10

11
     For continuance to November 15, 2018:
12
     Dated: July 16, 2018                                     /s/ JEROME PRICE
13                                                            JEROME PRICE
                                                              Counsel for Defendant Justin Johnson
14                                                            Case No. 2:17-cr-196
15
     Dated: July 16, 2018                                     /s/ JESSICA GRAVES
16                                                            JESSICA GRAVES
                                                              Counsel for Defendant Erica Umbay
17                                                            Case No. 2:17-cr-219

18
     Dated: July 16, 2018                                     /s/ CHRISTOPHER R. COSCA
19                                                            CHRISTOPHER R. COSCA
                                                              Counsel for Defendant Stephanie Lavan
20                                                            Case No. 2:18-cr-036

21
     Dated: July 16, 2018                                     /s/ TONI LASHAY WHITE
22                                                            TONI LASHAY WHITE
                                                              Counsel for Defendant Daisy Gonzalez
23                                                            Case No. 2:18-cr-038

24
     Dated: July 16, 2018                                     /s/ MICHAEL CHASTAINE
25                                                            MICHAEL CHASTAINE
                                                              Counsel for Def. Jose Heredia-Trinidad
26                                                            Case No. 2:18-cr-038

27

28

      STIPULATION REGARDING EXCLUDABLE TIME               4
      PERIODS UNDER SPEEDY TRIAL ACT
             Case 2:18-cr-00010-TLN Document 61 Filed 07/18/18 Page 5 of 7


 1 For continuance to November 29, 2018:

 2   Dated: July 16, 2018                        /s/ SHARI RUSK
                                                 SHARI RUSK
 3                                               Counsel for Defendant Aldo Arellano
                                                 Case No. 2:17-cr-222
 4

 5   Dated: July 16, 2018                        /s/ KELLY BABINEAU
                                                 KELLY BABINEAU
 6                                               Counsel for Defendant Rachel Felix
                                                 Case No. 2:17-cr-222
 7

 8   Dated: July 16, 2018                        /s/ TASHA P. CHALFANT
                                                 TASHA P. CHALFANT
 9                                               Counsel for Defendant Raul Barajas
                                                 Case No. 2:18-cr-009
10

11
     Dated: July 16, 2018                        /s/ ALIN CINTEAN
12                                               ALIN CINTEAN
                                                 Counsel for Def. Israel Covarrubias
13                                               Case No. 2:18-cr-009
14
     Dated: July 16, 2018                        /s/ MICHAEL E. HANSEN
15                                               MICHAEL E. HANSEN
                                                 Counsel for Defendant Milton Escobedo
16                                               Case No. 2:18-cr-009
17
     Dated: July 16, 2018                        /s/ CLEMENTE JIMENEZ
18                                               CLEMENTE JIMENEZ
                                                 Counsel for Def. Jose Madrigal-Vega
19                                               Case No. 2:18-cr-009
20
     Dated: July 16, 2018                        /s/ PHILIP COZENS
21                                               PHILIP COZENS
                                                 Counsel for Defendant Victor Magana
22                                               Case No. 2:18-cr-009
23
     Dated: July 16, 2018                        /s/ ROBERT M. WILSON
24                                               ROBERT M. WILSON
                                                 Counsel for Defendant Trevor White
25                                               Case No. 2:18-cr-009
26

27

28

     STIPULATION REGARDING EXCLUDABLE TIME   5
     PERIODS UNDER SPEEDY TRIAL ACT
             Case 2:18-cr-00010-TLN Document 61 Filed 07/18/18 Page 6 of 7


 1 For continuance to December 6, 2018:

 2   Dated: July 16, 2018                        /s/ SHARI RUSK
                                                 SHARI RUSK
 3                                               Counsel for Defendant Michael Do
                                                 Case No. 2:18-cr-044
 4

 5   Dated: July 16, 2018                        /s/ STEPHEN B. PLESSER
                                                 STEPHEN B. PLESSER
 6                                               Counsel for Defendant Patrick Botello
                                                 Case No. 2:17-cr-234
 7

 8   Dated: July 16, 2018                        /s/ DAVID M. GARLAND
                                                 DAVID M. GARLAND
 9                                               Counsel for Defendant Ashley Habash
                                                 Case No. 2:17-cr-234
10

11   Dated: July 16, 2018                        /s/ J. TONEY
                                                 J. TONEY
12                                               Counsel for Defendant Brenda Miranda
                                                 Case No. 2:17-cr-234
13

14
     Dated: July 16, 2018                        /s/ DAVID D. FISCHER
15                                               DAVID D. FISCHER
                                                 Counsel for Def. Mercedez Silva-Sims
16                                               Case No. 2:17-cr-234
17
     Dated: July 16, 2018                        /s/ DINA L. SANTOS
18                                               DINA L. SANTOS
                                                 Counsel for Defendant Ricardo Villa
19                                               Case No. 2:17-cr-234
20
     Dated: July 16, 2018                        /s/ KYLE R. KNAPP
21                                               KYLE R. KNAPP
                                                 Counsel for Defendant Joshua Sims
22                                               Case No. 2:17-cr-234
23

24

25

26

27

28

     STIPULATION REGARDING EXCLUDABLE TIME   6
     PERIODS UNDER SPEEDY TRIAL ACT
             Case 2:18-cr-00010-TLN Document 61 Filed 07/18/18 Page 7 of 7


 1 For continuance to December 13, 2018:

 2   Dated: July 16, 2018                           /s/ TODD D. LERAS
                                                    TODD D. LERAS
 3                                                  Counsel for Defendant Edgar Jimenez
                                                    Case No. 2:18-cr-010
 4

 5   Dated: July 16, 2018                           /s/ CLYDE BLACKMON
                                                    CLYDE BLACKMON
 6                                                  Counsel for Defendant James Masterson
                                                    Case No. 2:18-cr-010
 7

 8   Dated: July 16, 2018                           /s/ CANDICE L. FIELDS
                                                    CANDICE L. FIELDS
 9                                                  Counsel for Defendant Reggie Pajimola
                                                    Case No. 2:18-cr-010
10

11   Dated: July 16, 2018                           /s/ KYLE R. KNAPP
                                                    KYLE R. KNAPP
12                                                  Counsel for Defendant Joshua Sims
                                                    Case No. 2:18-cr-010
13

14   Dated: July 16, 2018                           /s/ TIMOTHY E. WARRINER
                                                    TIMOTHY E. WARRINER
15                                                  Counsel for Defendant John Lemus
                                                    Case No. 2:18-cr-034
16

17
     Dated: July 16, 2018                           /s/ MICHAEL B. BIGELOW
18                                                  MICHAEL B. BIGELOW
                                                    Counsel for Defendant Carlos Martinez
19                                                  Case No. 2:18-cr-035
20
     Dated: April 13, 2018                          /s/ RONALD PETERS
21                                                  RONALD PETERS
                                                    Counsel for Def. Blas Gonzalez-Ramirez
22                                                  Case No. 2:18-cr-054
23
                                        FINDINGS AND ORDER
24
          IT IS SO FOUND AND ORDERED this 17th day of July, 2018.
25

26

27

28                                                           Troy L. Nunley
                                                             United States District Judge
     STIPULATION REGARDING EXCLUDABLE TIME      7
     PERIODS UNDER SPEEDY TRIAL ACT
